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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ROBERT TOURNAHU, et al.,                           Case No. 22-cv-03220-EMC
                                   8                    Plaintiffs,
                                                                                            ORDER RE SUPPLEMENTAL
                                   9             v.                                         SUBMISSION
                                  10     PEGGY FLYNN, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          On June 10, 2022, the Court instructed that, “Before the City evicts any of the Plaintiffs

                                  15   from the Park, the City must make it best efforts, in good faith, to conduct outreach to each of

                                  16   Plaintiff, make a specific offer of shelter to each Plaintiff, and make a specific offer to store the

                                  17   belongings of each Plaintiff. The City must document and maintain a record of its outreach

                                  18   efforts and offers to Plaintiffs.” Docket No. 22 at 2 (emphasis added).

                                  19          Plaintiffs subsequently moved for an order to show cause why Defendants should not be

                                  20   held in contempt for, among other allegations, failure to offer and store the belongings of certain

                                  21   Plaintiffs. See Docket Nos. 29-42. The Court ordered Defendants to file a response to Plaintiffs’

                                  22   allegations and arguments, and instructed that “Defendants’ response must include documentation

                                  23   of Defendants’ outreach and offers, as previously ordered by the Court.” See Docket No. 44.

                                  24   Defendants responded. See Docket No. 55. Defendants included as evidence the declaration of

                                  25   Lt. Nicholas McGowan, who declared that the Petaluma Police Department “met with every

                                  26   person who was onsite and informed them that they should let an officer know if they had property

                                  27   they would like PPD to store for safekeeping, and provided plastic bags for property.” Docket No.

                                  28   55-1 ¶ 9. Lt. McGowan declares that “[e]very item of property that was designated for storage by
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                                   1   any of the unsheltered community members of the Park was taken to storage by PPD; there was

                                   2   nothing that was designated for storage by any unsheltered community member that was not

                                   3   accepted by PPD for storage.” Id. ¶ 10. Defendants also submitted 77 video files of bodycam

                                   4   footage purportedly documenting the interactions between Petaluma Police Department officers

                                   5   and residents of the Steamer Landing Encampment. Docket No. 55-1, Exh. C. Defendants

                                   6   contend that these videos demonstrate PPD’s offers of storage to all residents of the encampment.

                                   7   Docket No. 55 at 6.

                                   8          The Court finds it difficult to sort through Defendants’ evidentiary submissions to

                                   9   ascertain whether a “specific offer to store the belongings of each Plaintiff” was made by

                                  10   Defendants. See Docket No. 22 at 2. Specifically, Plaintiffs Melody Thornton, Jorge Luis

                                  11   Gonzalez Vazquez, Matthew Irving, and Robert Tournahu submitted declarations suggesting that

                                  12   they did not receive meaningful offers of storage. See Docket Nos. 35, 36, 40, 41, 42.
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                                  13          Defendants, therefore, are ORDERED to provide the Court with a supplemental

                                  14   submission identifying or demonstrating its storage offers specifically as to those four Plaintiffs,

                                  15   per the Court’s June 10, 2022 order. See Docket No. 22. If offers to these Plaintiffs are included

                                  16   in the bodycam video recordings, Defendants must identify which specific video files and the

                                  17   relevant timestamps for the Court to review. If the offers to these Plaintiffs are not included in the

                                  18   bodycam video recordings, Defendants must submit supplemental evidence that speaks to the

                                  19   specific offers made to these four Plaintiffs.

                                  20          Defendants’ supplemental submission is due on August 4, 2022.

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                                  22          IT IS SO ORDERED.

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                                  24   Dated: July 27, 2022

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                                                                                         EDWARD M. CHEN
                                  27                                                     United States District Judge
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